                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

 JUSTIN ACKER, et al.,

                     Plaintiffs,
             v.

 PROVIDENCE HEALTH & SERVICES
 WASHINGTON, d/b/a Providence                       Case No. 4:22-cv-00017-SLG
 Alaska Medical Center, et al.,

                     Defendants.


  ORDER RE MOTION UPON STIPULATION FOR STAY, PENDING STATE
            COURT APPROVAL OF MINOR DISMISSAL

       Before the Court at Docket 99 is the parties’ Motion Upon Stipulation for Stay,

Pending State Court Approval of Minor Dismissal. Upon due consideration the motion is

hereby GRANTED. This matter is STAYED pending Alaska Superior/Probate Court’s

approval of the dismissal of the minor Plaintiffs’ claims pursuant to U.S. District Court

District of Alaska Local Civil Rule 68.1 and Alaska Civil Rule 90.2.

       Upon receipt of the State Court’s decision on the petition for approval of minor

settlement, the parties will submit the necessary filings to effectuate dismissal of this

matter, in conformance with the State Court’s Order. Case closing documents or a status

report regarding the settlement process shall be filed no later than June 28, 2024.

       In light of the stay, all deadlines in this matter are VACATED and all pending

motions are DENIED as moot.

       IT IS SO ORDERED this 19th day of March 2024 at Anchorage, Alaska.

                                                 /s/ Sharon L. Gleason
                                                 UNITED STATES DISTRICT JUDGE



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